                          UNITED STATES BANKRUPTCY COURT                                                                          FOR COURT USE ONLY
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:

             Robert W. Geddes


S.S.#       xxx-xx-7487
                                       and
             Susan M. Geddes
                                                                                     CASE NO. 09-68334
S.S.# xxx-xx-7903               Debtor(s)                                            CHAPTER 13
__________________________________/

                                                                                  CHAPTER 13 PLAN

                           [ X ] Original OR [ ] Modification #                                        [ ] pre-confirmation OR [ ] post-confirmation

I.           PLAN PAYMENTS & DISBURSEMENTS
             This is the debtor's(s') latest Chapter 13 Plan. The following Classes of claims are established for payment from funds
             available by the Trustee except those identified as "direct payments" as indicated herein.

             A.           The debtor shall make payments in the amount of $110.31 Weekly for 60 months (frequency).
             B.           Plan length: 60 months, commencing on the date of entry of the Order Confirming Plan, which shall also be the
                          effective date of the Plan. The Trustee is hereby authorized to automatically adjust the Plan length an additional six
                          (6) months to accomplish the purposes of this Plan, but in no event shall this Plan last more than five years.
             C.           Debtor commits 100% of all tax refunds received or entitled to after commencement of the case, and shall not alter
                          any withholding deductions/exemptions without Court approval.
             D.           Treatment of claims
                          1.       Class One - Administrative Expenses
                                   a.        Trustee fees as determined by statute.
                                   b.        Attorney fees and costs: An agreed fee of $ 3,000.00 less amount paid as reflected in the Rule
                                             2016(b) Statement, leaving a balance due of $ 3,000.00 plus costs advanced in the amount of
                                             $ 0.00 which totals $ 3,000.00 . Said sum to be paid at the rate of $ 3,000.00 per month.

                                                    In the event that the Order Confirming Plan does not contain an award for attorney fees, for 30
                                                    days following the entry of the Order Confirming Plan, the Trustee shall hold from distribution the
                                                    sum of $3,000.00 as a fund for the payment of the attorney fees and costs that shall be determined
                                                    by the court pursuant to 11 U.S.C. Sec. 330 and Local Rule 2016-1. If no application has been
                                                    served and filed within this 30 day period, the reserved funds will be released for distribution to
                                                    creditors.
                                       c.           Other:

                          2.           Class Two - Continuing Claims: Those secured claims on which the last payment is due beyond the length
                                       of the Plan [11 U.S.C. §1322(b)(5)]. To the extent such claims are non-modifiable pursuant to 11 U.S.C. §
                                       1322(b)(2), the Trustee shall adjust the monthly payment to such creditors upon compliance by the creditor
                                       with L.B.R. 3015-1(a)(9)(E.D.M.) and the debtor shall increase Plan payments as needed for such
                                       compliance.

                                       a.           Post-Confirmation

                           Creditor/Collateral                                                                           Monthly Payments
                           Green Tree                                                              WHOLLY UNSECURED - LIEN STRIP
                             Residence:                                                      PURSUANT TO ADVERSARY PROCEEDING;
                             13078 Masonic                                                     SEE PLAN PROVISION I.D.9.; II.F.1.; II.F.3.
                             Warren, MI 48088



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                          Creditor/Collateral                                                                                Monthly Payments
                          Wells Fargo Home Mortgage                                                                                   1,354.37
                           Residence:                                                                        *Current - Paid Direct by Debtor*
                           13078 Masonic
                           Warren, MI 48088

                                     b.           Post-Petition/Pre-Confirmation Arrears- (TO BE PAID IN FIRST 12 MONTHS):

                                                                                                                                Estimated
 Creditor/Collateral                                                                    Arrears Amount            Interest Rate Monthly Payment            Time to Cure
 -NONE-



                         3.          Class Three - Executory Contracts and/or Unexpired Leases [11 U.S.C. §1322(b)(7) and 11 U.S.C. §365]
                                     a.      Continuing, Post-Petition Obligations:

                                                                 Assume/                           If assumed,
                                                                 Reject/                           regular payment                Lease/Contract
 Creditor/Collateral                                             Assign?                           per month                      expiration date
 -NONE-


                                     b.           Pre-Petition Obligations:
                                                                                                         If assumed,
                                                                                                         number of months
                                                                     If assumed,                         to cure from                   If assumed,
                                                                     amount of                           confirmation date              monthly payment
 Creditor/Collateral                                                 Default                             + interest rate                on cure
 -NONE-



                         4.          Class Four - Arrearage on Continuing Claims [11 U.S.C. §1322(b)(5)]
                                     Pre-Petition Arrears:

                                                                                                                  Estimated            Number of months to cure
 Creditor/Collateral                                                   Arrears Amount           Interest Rate     Monthly Payment      from confirmation date
 -NONE-



                         5.          Class Five - Other Secured Claims: Secured claims other than those listed in Classes Two and Four on
                                     which the last payment will become due within the Plan duration.

                                                "Crammed down"
                                                [11 U.S.C. 1325(a)(5)]                                                Monthly                              Number of
                                                or modified                                                           Payment          Total to Pay        months from
                                                [11 U.S.C. 1322(b)(2)]                         Market     Interest    (Incl.           (Incl.              confirmation
 Creditor/Collateral                            Indicate Which                                  Value        Rate     Interest)        Interest)           date
 Capital One Auto Finan                         Modified                                     11,090.00     5.25%         394.68            11,840.40                 60
 2005 Chrysler Sebring (~40K
 miles)
 Mich 1st Cu                                    Current - Paid Direct                         9,272.00          0%       242.57                     0.00               0
 2005 Chevrolet Malibu (used                    by Debtors' son
 exclusively by son and paid
 for by son)

                         6.          Class Six - Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]

                                      Creditor                                                           Amount       Interest Rate
                                      -NONE-

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                         7.          Class Seven - Special Unsecured Claims shall be paid in full and concurrently with Class Eight General
                                     Unsecured Claims.

                                                                                                           Interest
                                      Creditor                                                    Amount   Rate       Reason for Special Treatment
                                      -NONE-


                         8.          Class Eight - General Unsecured Claims shall be paid 10 % of such amounts with interest at the rate of
                                      0.00 % per annum. This Plan shall provide either the percent stated or shall continue for the length stated,
                                     whichever will offer the greater dividend to general unsecured creditors in this class.

                         9.          Other Provisions: THIS PLAN PROPOSES TO STRIP THE WHOLLY UNSECURED MORTGAGE
                                     OF GREEN TREE FOR THE PROPERTY LOCATED AT 13078 MASONIC, WARREN, MI 48088.
                                     ADVERSARY PROCEEDINGS WILL BE FILED TO ACCOMPLISH THIS LIEN STRIP. UPON
                                     DISCHARGE OF THE CASE, THE MORTGAGE SHALL BE DEEMED DISCHARGED AND
                                     STRIPPED FROM THE PROPERTY.


II.         GENERAL PROVISIONS

            A.           THIS PLAN FOLLOWS THE TRUSTEE'S PLAN IN ALL RESPECTS, WITH THE EXCEPTION OF:
                         I.D.1.b.; I.D.9.; II.F.1.; II.F.3.; II.L.

            B.           VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon confirmation of the
                         Plan, all property of the estate shall vest in the debtor [11 U.S.C. §1327(b)]. The debtor shall remain in possession
                         of all property of the estate during the pendency of this case unless specifically provided herein [11 U.S.C.
                         §1306(b)]. All secured creditors shall retain the liens securing their claims unless otherwise stated.

            C.           SURRENDER OR ABANDONMENT OF COLLATERAL: Upon confirmation the automatic stay is lifted as to
                         any collateral treated as surrendered or abandoned.

            D.           PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall
                         not incur a debt in excess of $1,000.00 without first obtaining approval from the Court.

            E.           UNSCHEDULED CREDITORS FILING CLAIMS: If a pre- or post-petition creditor is not listed in the Chapter
                         13 Schedules, but files a proof of claim, the Trustee is authorized to classify the claim into one of the existing classes
                         under this Plan and to schedule the claim for payment within that class.

            F.           PROOFS OF CLAIMS FILED AT VARIANCE WITH THE PLAN: In the event that a creditor files a proof of
                         claim that is at variance with the provisions of this Plan, the following method is to be employed to resolve the
                         conflict:

                         1.          Regarding claims for which the Plan does not propose a "cramdown" or modification, the proof of claim
                                     shall supersede the Plan as to the claim amount, percentage rate of interest, monthly payments, classification
                                     of the claim, percentage of interest on arrears, if any, but the proof of claim shall not govern as to the
                                     valuation of collateral. This provision shall not apply the second priority lien of Green Tree for the
                                     property located at 13078 Masonic, Warren, MI 48088. The claim shall be treated as unsecured
                                     regardless of the proof of claim.

                         2.          As to claims for which the Plan proposes a "cramdown" or modification, the proof of claim governs only as
                                     to the claim amount, but not with respect to any of the other aforementioned contractual terms.

                         3.          If a holder of a claim files a proof of claim at variance with this Plan or related schedules, the Trustee shall
                                     automatically treat that claim as the holder indicated, unless provided otherwise by order of the Court. This
                                     provision shall not apply the second priority lien of Green Tree for the property located at 13078




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                                     Masonic, Warren, MI 48088. The claim shall be treated as unsecured regardless of the proof of
                                     claim.

                         4.          A proof of claim or interest shall be deemed filed under 11 U.S.C. §501 for any claim or interest that
                                     appears in Classes Two, Three, Four or Five of this plan, except a claim or interest that is disputed,
                                     contingent or non-liquidated and labeled as such in this plan.

                                     NOTE: Debtor reserves the right to object to any claim.

            G.           TAX RETURNS AND TAX SET-OFFS: All tax returns which have become due prior to the filing of this Plan
                         have been filed except the following (see L.B.R. 2083-1(E.D.M.) regarding non-filed returns):
                                 -NONE-

            H.           DEBTOR ENGAGED IN BUSINESS: [ ] If the box to the immediate left is "checked", the debtor is self-
                         employed AND incurs trade credit in the production of income from such employment.
                         1.     11 U.S.C. §1304(b) and (c) regarding operation of the business and duties imposed upon the debtor are
                                incorporated herein by reference.

                         2.          The debtor shall comply with the provisions of L.B.R. 3015-1(a)(8) and 2003-2(a)(b) (E.D.M.) unless the
                                     Court orders otherwise.

            I.           ORDER OF PAYMENT OF CLAIMS: Class One claims shall be paid in advance of others, then Classes Two
                         and Three in advance of all remaining classes, then Classes Four and Five, then Class Six, and then Classes Seven
                         and Eight shall be paid as stated in each respective section. [LBR 3015-1(a)(5) (E.D.M.)]

            J.           WORKSHEET: The worksheet on a form available from the clerk's office, is required by L.B.R. 3015-1(b)(2)
                         (E.D.M.). It is attached hereto and incorporated herein by reference.

            K.           CONFLICT OF DEBT AMORTIZATION: If the amortization figures conflict with respect to those stated in
                         Class 2b, Class 3, Classes 4 Class 5, the time to cure shall be paramount, and the Trustee shall make alterations to
                         implement this statement.

            L.           DEBTOR DUTY TO MAINTAIN INSURANCE: Debtor shall maintain all insurance required by law and contract
                         upon property of the estate and the debtor's property.

            M.           ENTRY OF ORDERS LIFTING STAY: Upon entry of Order Lifting Stay, no distributions shall be made to the
                         secured creditor until such time as an amended claim is filed by such creditor.




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      N. LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY [LBR 3015-1(b)(1)]:
                                                         DEBTOR'S
                            FAIR MARKET                  SHARE OF    EXEMPT    NON-EXEMPT
       TYPE OF PROPERTY         VALUE        LIENS        EQUITY*   AMOUNT        AMOUNT

     PERSONAL RESIDENCE                                          70,000.00                   179,532.67                0.00        0.00                    0.00



                 VEHICLES                                        21,862.00                    20,362.00            1,500.00    1,500.00                    0.00



   HHG/PERSONAL EFFECTS                                            3,500.00                        0.00            3,500.00    3,500.00                    0.00



                 JEWELRY                                           2,250.00                        0.00            2,250.00    2,250.00                    0.00



     CASH/BANK ACCOUNTS                                          30,010.00                         0.00            7,510.00    7,510.00                    0.00



                   OTHER                                         29,470.75                         0.00           29,470.75   29,470.75                    0.00

*Debtor has partial interest in 2 properties. "Debtor's Share of Equity" column has been adjusted accordingly.



                          Amount available upon liquidation                                                                   $                           0.00

                          Less administrative expenses and costs                                                              $                    13,500.00

                          Less priority claims                                                                                $                           0.00

                          Amount Available in Chapter 7                                                                       $                           0.00



 /s/ William D. Johnson                                                                            /s/ Robert W. Geddes
 William D. Johnson P54823                                                                         Robert W. Geddes
 Attorney for Debtor                                                                               Debtor
 Acclaim Legal Services, PLLC
 17117 W. Nine Mile                                                                                /s/ Susan M. Geddes
 Suite 925                                                                                         Susan M. Geddes
 Southfield, MI 48075                                                                              Joint Debtor
 filing@acclaimlegalservices.com
 248-443-7033 Fax:248-443-7055                                                                     September 24, 2009
 Phone Number                                                                                      Date




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                                                                                    WORKSHEET

 1.          Length of Plan is                           weeks;               60             months;             years.

             Debtor #1:
                                                                       ( Weekly )
 2.          $              110.31 per pay period x                       260                pay periods per Plan = $     28,680.60 total per Plan

             Debtor #2:
                                                                            ( )
             $                          per pay period x                                     pay periods per Plan = $                 total per Plan

 3.          $                          per period x                                         periods in Plan =

 4.          Lump Sums:                                                                                                                                      0.00

 5.          Equals total to be paid into the Plan                                                                                                     28,680.00

 6.          Estimated trustee's fees                                                                        1,434.00

 7.          Estimated Attorney fees and costs                                                  3,000.00 (estimated)

 8.          Total priority claims                                                                               0.00

 9.          Total installment mortgage or
             other long-term debt payments                                                                       0.00

 10.         Total of arrearage
             including interest                                                                                  0.00

 11.         Total secured claims,
             including interest                                                                             11,840.40


                                                  Total of items 6 through 11                                                          $               16,274.40

 12.         Funds available for unsecured creditors (item 5 minus item 11)                                                      $                     12,405.60

 13.         Total unsecured claims (if all file)                                                                                $                  124,426.67

 14.         Estimated percentage to unsecured creditors under Plan (item 12 divided by item 13)                                                            10 %

 15.         Estimated dividend to general unsecured creditors if
             Chapter 7, (see liquidation analysis attached)                                                                      $                           0.00

COMMENTS:




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